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                      UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF PENNSYLVANIA
                                 Pittsburgh Division


DANIEL HUBERT, individually and on behalf of           Civil Action No. 2:15-cv-01391-MRH
all others similarly situated,
                                                       This document relates to: ALL CASES
               Plaintiff,
                                                       FIRST AMENDED CONSOLIDATED CLASS
       v.                                              ACTION COMPLAINT

GENERAL NUTRITION CORPORATION,                         DEMAND FOR JURY TRIAL
          Defendant.

(In re: GNC Picamilon/BMPEA Litigation)



                                        INTRODUCTION

       1.      Defendant General Nutrition Corporation (“GNC”) is the world’s largest specialty

retailer of dietary supplements. It promises consumers on its website that it “sets the standard in

the nutritional supplement industry by demanding truth in labeling, ingredient safety and product

potency[.]”

       2.      GNC, however, has broken that promise and repeatedly violated federal and state

law by selling supplements with mislabeled dietary ingredients which are not even legally

available in prescription drug form in the United States, let alone as a supplement to the diet.

       3.      Specifically, GNC marketed and sold supplements (manufactured by third parties)

that contain the picamilon, BMPEA, or acacia rigidula. Several supplements containing acacia

rigidula are also spiked with BMPEA.

       4.      GNC has long known, however, that picamilon, BMPEA, and acacia rigidula are

not “dietary” ingredients. Picamilon is a synthetic chemical used as a prescription drug in Russia

for a variety of neurological conditions; it is not approved as a drug in the United States.



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BMPEA is an amphetamine-like synthetic chemical that is not found in nature and has no history

of safe usage. Acacia rigidula is an herb or other botanical which also has no history of safe

usage. In fact, no manufacturer or distributor has submitted to the Food and Drug Administration

(“FDA”) FDA any premarket notification establishing that a dietary supplement containing

acacia rigidula is safe. The FDA has independently confirmed these facts in a series of warning

letters issued to manufacturers of supplements containing picamilon, BMPEA, or acacia

rigidula.

       5.      Nevertheless, GNC sold products with false and misleading labeling, and it

otherwise failed to disclose material facts about the dangers of ingesting picamilon, BMPEA,

and acacia rigidula. It took these actions at the expense of consumer safety, in order to profit

from product sales, and in violation of state and federal law.

       6.      Plaintiffs are consumers who were hoodwinked into purchasing these

supplements with mislabeled and dangerous ingredients. Plaintiffs would not have purchased

these supplements had GNC disclosed that they contained mislabeled ingredients which pose

serious health risks and are not marketable as dietary supplements.

       7.      Plaintiffs bring this suit on behalf of themselves and a class of similarly situated

consumers. They assert that GNC has violated established state consumer protection laws,

breached product warranties, engaged in negligent misrepresentation, and unjustly enriched itself

to the detriment of consumers.      Plaintiffs seek damages and equitable relief on behalf of

themselves and the proposed classes.

                                JURISDICTION AND VENUE

       8.      This Court has jurisdiction over this action under the Class Action Fairness Act,

28 U.S.C. § 1332(d). There are at least 100 members in the proposed class, the aggregated claims




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of the individual class members exceed the sum or value of $5,000,000, exclusive of interest and

costs, and this is a class action in which Defendant GNC and members of the proposed plaintiff

class, including named Plaintiffs, are citizens of different states.

        9.     This Court may exercise jurisdiction over GNC because GNC maintains its

headquarters in Pennsylvania; is registered to conduct business in Pennsylvania; has sufficient

minimum contacts in Pennsylvania; and intentionally avails itself of the markets within

Pennsylvania through the promotion, sale, marketing, and distribution of its products, such that

the exercise of jurisdiction by this Court is both proper and necessary.

        10.    Venue is proper in this District under 28 U.S.C. § 1391 because a substantial part

of the events or omissions giving rise to Plaintiffs’ claims occurred in this District.

                                           PLAINTIFFS

        11.    Plaintiff Daniel Hubert resides in Mesquite, Texas. He purchased Mr. Hyde at

GNC stores located in Rockwall and Greenville, Texas, on five occasions from January to May

2015.

        12.    Plaintiff Kyle Eager resides in Lompoc, California. He purchased Mr. Hyde Fruit

Punch and Mr. Hyde Blue Razz at the GNC store located at the Post Exchange on Vandenberg

Air Force Base in California on two occasions in 2015.

        13.    Plaintiff Robert Brooks resides in Escondido, California. He purchased Meltdown

Watermelon, Lipo 6 Black, Meltdown, Redline Ultra Hardcore, and Shredz Burner at GNC

stores located in Escondido and Vista, California, on multiple occasions between approximately

June 2013 and September 2014.

        14.    Plaintiff Matthew Shane Smith resides in Bryant, Arkansas. He purchased

Mr. Hyde Fruit Punch in January 2015 at a GNC store located in Bryant, Arkansas.




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       15.    Plaintiff Mary Jo Cesario resides in Port Saint Lucie, Florida. She purchased

Charge Extreme Energy Booster, Lean Body for Her Fat Burner, Nirvana, ENGN Blue Razz,

Fastin, Redline Hardcore Blister Pak, Iso Lean 2, and Green Coffee Bean + Energy at GNC

stores located in Florida on multiple occasions between 2011 and 2015.

       16.    Plaintiff Chris Lynch resides in Urbandale, Iowa. He purchased Redline Ultra

Hardcore at a GNC store in the Jordan Creek Mall located in West Des Moines, Iowa, in

approximately May 2015.

       17.    Plaintiff Jeff Johnston resides in Brighton, Michigan. He purchased Mr. Hyde,

Fastin, and Redline Ultra Hardcore at GNC stores located in Michigan on multiple occasions

between 2011 and 2015.

       18.    Plaintiff Martine Landuit Vartanian resides in Westland, Michigan. She purchased

Lean Body for Her Fat Burner, Turbo Shred, ISO Lean 2, Lipodrene XR, and Green Coffee Bean

+ Energy at GNC stores located in Michigan on multiple occasions between 2013 and 2015.

       19.    Plaintiff Dan Malecha resides in Burnsville, Minnesota. He purchased Lean Body

Hi Energy Fat Burn, Tru Mangodrin, Jacked Pack, Nirvana, Meltdown Watermelon, Meltdown

Peach Mango, Lipo 6 Black, Shredz Burner, Methlyl Drive 2.0, Lipodrene XR, and Green

Coffee Bean + Energy at GNC stores located in the Burnsville Center and Southport Centre in

Minnesota on multiple occasions between 2012 and 2015.

       20.    Plaintiff Joseph Lambert resides in Nashua, New Hampshire. He purchased Mr.

Hyde Watermelon at a GNC store located in the Pheasant Lane Mall in Nashua, New Hampshire,

on two occasions in 2015.

       21.    Plaintiff Cory Toth resides in New York. He purchased Riptek V2, Meltdown,

Redline Ultra Hardcore, Hit Fastin XR, Charge Extreme Energy Booster, Testek, and Jetfuel




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Superburn at GNC stores located in New York and online at GNC.com on multiple occasions

between 2011 and 2015.

       22.     Plaintiff Nate Picone resides in Bethlehem, Pennsylvania. He purchased Dr.

Jekyll (watermelon) at a GNC store in Bethlehem in or around July 2015.

       23.     Plaintiffs reasonably relied on labeling, marketing, or advertising in purchasing

these supplements. At the point of sale, Plaintiffs reasonably believed that the supplements they

purchased did not include mislabeled ingredients and were otherwise legal dietary supplements.

       24.     Had Plaintiffs known that the supplements they purchased contained mislabeled

dietary ingredients or were unlawful dietary supplements, they would not have purchased them.

                                          DEFENDANT

       25.     Defendant General Nutrition Corporation is a Pennsylvania corporation with its

headquarters and principal place of business in Pittsburgh, Pennsylvania.

                                  FACTUAL ALLEGATIONS

                                       Dietary Supplements

       26.     Over half of the United States population uses dietary supplements, according to

the Centers for Disease Control and Prevention. Consumers ingest these products to supplement

their total dietary intake of substances such as vitamins, minerals, herbs, or botanicals. These

products are often found in the form of tablets, capsules, softgels, gelcaps, liquids, or powders.

       27.     Dietary supplements are marketed for a variety of reasons, including for weight

loss and energy enhancement. The supplements at issue here are primarily weight-loss and

sports-nutrition supplements available as powders and liquids.




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                  Federal and State Law Requirements for Dietary Supplements

       28.     Federal and state law place primary responsibility for the safety of dietary

supplements, and for truthful and non-misleading labeling and advertising, on the shoulders of

supplement manufacturers and distributors such as GNC. State law provides an additional, and

critical, layer of consumer protection against false or misleading labeling, marketing, and

advertising. As such, state law complements federal law. It also serves a distinct compensatory

function.

       29.     The federal Food, Drug, and Cosmetic Act (“FDCA”) defines a “dietary

supplement” as a product (other than tobacco) intended to supplement the diet that bears or

contains one or more of the following dietary ingredients: a vitamin; a mineral; an herb or other

botanical; an amino acid; a dietary substance for use by man to supplement the diet by increasing

the total dietary intake; or a concentrate, metabolite, constituent, extract, or a combination of any

ingredient mentioned above. See 21 U.S.C. § 321(ff). Dietary supplements are products which

are intended for ingestion, which are not represented for use as a conventional food or as a sole

item of a meal or diet, and which are labeled as dietary supplements. See id.

       30.     A dietary ingredient that falls into the federal definition, but was not previously

marketed in the United States before October 14, 1994, is a “new dietary ingredient” (“NDI”) 21

U.S.C. § 350b(d).

       31.     A manufacturer or distributor is required to notify the FDA if it intends to market

a dietary supplement in the U.S. that contains a “new dietary ingredient” that was not previously

present in the food supply.     The manufacturer or distributor must submit the new dietary

ingredient notification at least 75 days before the ingredient is sold and must include information




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that supports the safety of the product. If the FDA does not take action during this 75-day

period, the ingredient may be used in dietary supplements sold in the United States.

          32.   Manufacturers and distributors are responsible for determining whether a

particular dietary ingredient was marketed before October 15, 1994, and for documenting that

belief.

          33.   The sale of a dietary supplement with a “new dietary ingredient” without required

premarket notification is illegal. See 21 U.S.C. §§ 331(a), 350(b).

          34.   Because dietary supplements are under the “umbrella” of foods, the federal

prohibition against ‘misbranded’ food applies to dietary supplements. See 21 U.S.C. § 343(a)(1).

The federal misbranding law provides that “food shall be deemed to be misbranded” “[i]f (1) its

labeling is false or misleading in any particular, . . .” Id. The federal prohibition against

adulterated foods also applies to dietary supplements. See 21 U.S.C. §§ 342(f), 350b. A dietary

supplement which contains a new dietary ingredient is adulterated if it does not satisfy the

conditions applicable to such ingredients, including premarket notification. See id.

          35.   States have expressly adopted or incorporated a general prohibition against food

labeling that is false or misleading in any particular, or against the sale of food which is

adulterated, in their state Food, Drug, and Cosmetic Acts. These state statutes incorporate by

reference relevant portions of the FDCA. See, e.g., Arkansas’s Food, Drug, and Cosmetic Act,

Ark. Code. Ann. § 20-56-201, et seq.; California’s Sherman Food, Drug, and Cosmetics Act,

Cal. Health & Safety Code § 109875, et seq.; Florida’s Food Safety Act, Fla. Stat. Ann. §

500.01, et seq.; Michigan’s Food Law, Mich. Comp. Laws Ann. 289.1101, et seq.; Minnesota’s

Food Law, Minn. Stat. Ann. § 34A.01, et seq.; New York’s Agriculture and Markets law, N.Y.

Agric. & Mkts. Law § 1, et seq.; New Hampshire’s Purity and Branding of Foods and Drugs law,




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N.H. Rev. Stat. Ann. § 146:1, et seq.; Pennsylvania’s Food Safety Act, 3 Pa. C.S.A. § 5721, et

seq.; and Texas’s Food, Drug, and Cosmetic Act, Tex. Health & Safety Code Ann. § 431.001, et

seq.

                               General Nutrition Corporation (GNC)

       36.     GNC is the largest global specialty retailer of nutritional supplements, including

vitamin, mineral, herbal, and other specialty supplements, as well as sports nutrition and dietary

supplements. The company has over 4,800 retail locations in the United States, and sells

products through its website, www.gnc.com.

       37.     In 2014, GNC had over $2.6 billion in revenue with 44% of its retail revenue

coming from sports supplements and 11% coming from diet supplements. Its products are sold

under GNC proprietary names and under third-party names in company owned retail stores and

in franchise stores located across the United States, as well as on its website.

       38.     Many of GNC’s sports and diet supplements contain the chemicals and

ingredients picamilon, BMPEA, or acacia rigidula. As GNC has long known, these are

substances which pose unique health dangers—not dietary ingredients (vitamins, minerals,

botanicals, herbs, or certain other substances) used to supplement the diet that were previously

present in the food supply.

                                             Picamilon

       39.     Picamilon (also known as pikamilon or pikatropin) is a chemical developed by

researchers in the former Soviet Union and is currently sold as a prescription drug in Russia to

increase levels of gamma-aminobutyric acid (GABA) in the central nervous system. Drugs like

picamilon that mimic or increase GABA activity in the brain allegedly provide anti-anxiety and




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anti-convulsive effects. The FDA has never approved picamilon as either a prescription drug or

for over-the-counter use in the United States.

          40.   On September 28, 2015, Dr. Cara Welch, the Acting Deputy Director of the

Division of Dietary Supplement Programs at the FDA, issued a declaration stating that picamilon

does not qualify as a dietary ingredient under the FDCA.

          41.   Dr. Welch’s declaration stated that picamilon is neither a vitamin, mineral, herb

or other botanical, amino acid, dietary substance used to increase the total dietary intake, or a

concentrate, metabolite, constituent, extract, or combination of any of these items.

          42.   According to Dr. Welch, picamilon is a neurotransmitter that is formed by

synthetically combining niacin with GABA. While both of these chemicals are individually

found in nature, the compound has only been produced synthetically and has no known natural

source.

          43.   GNC has been aware since 2007 that picamilon is not a lawful dietary ingredient

and that it is a synthetic drug. In May 2007, Jennifer Jakel, GNC’s Senior Project Manager for

Technical Research whose responsibilities include ensuring that labeling and scientific claims

are accurate, reviewed literature on picamilon translated from Russian. The literature described

picamilon as a “medicinal preparation” and as a “derivative of gamma-amino-butryic acid and

nicotinic acid” that was first synthesized in 1969 by the All-Union Scientific Research Institute

and studied in the NII pharmacological RAN. Documents reviewed by Ms. Jakel also described

picamilon as “a new class of medicinal preparations called nootropics which are finding

increasingly wider applications in various areas of medicine. Nootropic medications are adopted

successfully for breakdowns of memory, attention, learning, and for treatment of loss of brain

blood circulation, brain trauma, chronic alcoholism and other disorders.”




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       44.     GNC was also aware that picamilon was not a dietary ingredient because Ms.

Jakel noted in her 2007 analysis that she could not find a new dietary ingredient notification: “No

NDI that I could find.” In April 2014, Ms. Jakel again looked for a new dietary ingredient

notification and documented: “still no NDI found.”

       45.     Concerned that picamilon was listed as a dietary ingredient on dietary supplement

labeling for products available in the United States, researchers independent of GNC conducted a

study to determine the accuracy of supplement labels listing picamilon. B. Avula, et al.,

Identification and Quantification of Vinpocetine and Picamilon in Dietary Supplements Sold in

the United States, Drug Testing and Analysis (July 15, 2015). The researchers found that the

actual amount of picamilon in the supplements varied from 99.6% to 157.9% of the labeled

claim. Moreover, while maximum daily prescription dosages abroad range from 50 to 200 mg,

an American consumer following the recommended maximum daily serving on supplement

labels might consume up to 721.5 mg per day.

       46.     On June 16, 2015, the Attorney General for the State of Oregon issued an

Investigative Demand to GNC Holdings, Inc. (GNC’s parent company) that demanded

production of documents and information relating to the sale of picamilon.           The demand

discussed the likelihood that picamilon was not a lawful dietary ingredient. GNC was aware of

this demand and produced documents and information in response to it, but continued to sell

dietary supplements containing picamilon. GNC did not cease selling supplements containing

picamilon until after the Oregon Attorney General issued a Notice of Unlawful Trade Practices

and Proposed Resolution to GNC on September 21, 2015.

       47.     Picamilon was openly found on the labels of a variety of supplements available

for sale at GNC, including the products that Plaintiffs purchased. Through this labeling, GNC




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misrepresented to Plaintiffs and consumers that picamilon was a dietary ingredient. GNC

otherwise failed to inform consumers that picamilon is a dangerous, synthetic stimulant.

                                             BMPEA

       48.     BMPEA, also known as beta-methylphenethylamine, was first synthesized in the

1930s as a potential replacement for amphetamine. Animal trials completed around this time

demonstrated that BMPEA increased blood pressure and heart rate. For unknown reasons,

however, studies of efficacy and safety in humans were never performed. As a result, BMPEA

was never introduced as a pharmaceutical drug and its effects on humans are unknown. BMPEA

was identified only as a research chemical until recently.

       49.     In 2013, FDA researchers discovered that many dietary supplements labeled as

containing acacia rigidula, a shrub native to Texas, contained BMPEA. The subsequently

published study revealed that nearly half of 21 tested dietary supplements labeled as containing

acacia rigidula actually contained BMPEA. Pawar et al., Determination of selected biogenic

amines in Acacia rigidula plant materials and dietary supplements using LC-MS/MS methods

(January 2014). Researchers were unable to find BMPEA in tested samples of acacia rigidula,

suggesting that the plant does not naturally contain BMPEA. The FDA researchers also

confirmed that BMPEA had never been tested for safety on humans.

       50.     Plaintiffs’ counsel also commissioned analyses of acacia rigidula extract, which

is listed as a dietary ingredient in certain dietary supplements sold by GNC, for the existence of

BMPEA. The testing facility conducted the analysis using LC/MS (Liquid Chromatography

coupled to Mass Spectrometry) and GC/MS (Gas Chromatography coupled to Mass

Spectrometry) tests. These tests found no BMPEA in acacia rigidula extract, providing an

additional indication that the source of BMPEA in the supplements was synthetic, not natural.




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       51.     According to the Center for Responsible Nutrition, companies effectively

“spiked” products labeled with acacia rigidula with BMPEA, where none would naturally be

present. Testing by the Oregon Department of Justice on three dietary supplements sold at GNC

stores labeled as containing acacia rigidula showed that they contained BMPEA instead.

       52.     GNC has been aware that since at least early November 2013 some dietary

supplements labeled as containing the plant acacia rigidula actually contained the amphetamine-

like BMPEA. At that time, Ms. Jakel was notified by the PubMed service of the FDA study. A

few weeks later, Ms. Jakel also circulated a USA Today article about the study to approximately

100 recipients at GNC, including Senior Vice President Guru Ramanathan and Vice President &

General Counsel of Regulatory Affairs David J. Sullivan. Within minutes of receiving the email,

GNC Merchandising Manager Carter Gray wrote to the Director of Merchandising, “Please tell

me we won’t have to get rid of acacia now.”

       53.      Initially, GNC employees made an effort to identify products with acacia

rigidula. GNC’s Senior Vice President of Marketing, Brian Cavanough offered to perform a

database search to identify all affected products. Director of e-Commerce Nathanial Kennedy

also learned of at least six products sold by GNC with acacia rigidula.

       54.     In an e-mail that included the USA Today article, Charlie Chiaverini, the National

Branch Manager for Rightway Nutrition (manufacturer of Green Coffee Bean+Energy), wrote to

GNC employee Bob Emilian, asking, “[O]bviously you would like us to reformulate as fast as

possible and replace the inventory in the stores in warehouse with new inventory yes.” Bob

Emilian replied, “Yes for starters.”

       55.     By February 2014, however, GNC employees approved of the use of acacia

rigidula by a third-party vendor seeking permission to reformulate a product. GNC also




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continued to sell dietary supplements that contained acacia rigidula without testing these

supplements to determine whether they were adulterated with BMPEA or informing consumers

of the risk that these products were adulterated.

       56.     The Food Standards Agency of the European Union (EU) contacted GNC and

other sellers of acacia rigidula products in March 2014 to inform them that acacia rigidula was

a “novel food product” and could not be sold in the EU because, among other things, its safety

had not been demonstrated.

       57.     In November 2014, an article by NutraIngredients-USA reporting on European

regulatory warnings regarding acacia rigidula and BMPEA was widely distributed throughout

GNC. The article warned that dietary supplements labeled with acacia rigidula and containing

BMPEA had been linked to hemorrhagic stroke.

       58.     An April 2015 study which received significant national media attention found

that more than 50% of tested dietary supplements labeled as containing acacia rigidula in fact

contained BMPEA, including products sold by GNC in the United States. See P. Cohen, et al.,

An amphetamine isomer whose efficacy and safety in humans has never been studied, β-, Drug

Test Analysis (April 2015). Researchers determined that “[t]he dosages of BMPEA in

supplements strongly suggest that the amphetamine isomer is synthetically produced and placed

in the supplement to lead to physiologic effects.”

       59.     After the results of the Cohen study were released, another supplement retailer,

Vitamin Shoppe, announced that it was pulling these products and all others that list acacia

rigidula on their labels: “Because the health and safety of our customers is our number one

priority, and out of an abundance of caution, we are immediately removing all acacia rigidula




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containing products, due to the concern that some of them may contain BMPEA, from our stores

and website.”

       60.      In April 2015, the FDA formally announced that BMPEA did not meet the

statutory definition of a dietary ingredient and sent warning letters to manufacturers whose

products included BMPEA. Only after this announcement did GNC stop selling certain products

identified as containing BMPEA.

       61.      Because BMPEA is not an extract of acacia rigidula, dietary supplement products

that state that BMPEA is an acacia rigidula extract are also false and misleading and unlawful.

       62.      A report published in Annals of Internal Medicine linked undisclosed BMPEA in

a dietary supplement to the occurrence of a hemorrhagic stroke. An otherwise healthy 53-year-

old woman reported the sudden onset of stroke symptoms 45 minutes after beginning a vigorous

exercise routine that she had repeated several times weekly for years. She had consumed the

recommended dose of a sports supplement called Jacked Power approximately 30 minutes before

beginning exercise. Researchers tested the patient’s Jacked Power supplement and discovered

that it contained 290 mg of undisclosed BMPEA per dose. The study’s authors concluded that

“[e]xercise combined with BMPEA . . . probably caused this patient’s stroke.”

       63.      Consumption of BMPEA could also have significant consequences for athletes

and other consumers who are subjected to drug testing because BMPEA is banned by the World

Anti-Doping Agency. Several athletes have tested positive for BMPEA in urine toxicology

studies, including an Olympic canoeist who claimed he had inadvertently consumed BMPEA in

a dietary supplement.

       64.      Foreign agencies, including Health Canada and the European Food Standards

Agency, have recalled products on the market containing BMPEA, calling the ingredient a




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“serious health risk.” Health Canada, the Canadian equivalent of the FDA, announced a recall of

the acacia rigidula-labeled dietary supplement “Jet Fuel Superburn” sold by GNC because it was

spiked with undisclosed BMPEA. The European Food Standards Agency contacted GNC and

other sellers of acacia rigidula products to inform them that acacia rigidula was a “novel food

product” and could not be sold in the European Union because, among other reasons, its safety

had not been demonstrated.

          65.   BMPEA was openly found on the labels of a variety of supplements available for

sale at GNC, including the products that Plaintiffs purchased. Through this labeling, GNC

misrepresented to Plaintiffs and consumers that supplements with BMPEA were safe, could be

legally sold in the United States, and contained their listed dietary ingredients.

                                          Acacia Rigidula

          66.   Acacia rigidula—also called, among other names, Vachellia rigidula, chaparro

prieto, and blackbrush—is an herb or other botanical offered for sale as a dietary ingredient in

dietary supplements.

          67.   On March 7, 2016, the FDA issued letters warning six manufacturers of dietary

supplements containing the dietary ingredient acacia rigidula that this is a “new dietary

ingredient” which lacks evidence of safe use, and therefore cannot lawfully be sold in the United

States.

          68.   As the warning letters explain, a new dietary ingredient is adulterated under the

FDCA, 21 U.S.C. § 342(f), unless it was lawfully marketed as a dietary ingredient in the United

States before October 15, 1994, or there is information demonstrating that this ingredient has

been present in the food supply as an article used for human food in a form in which the food has

not been chemically altered. If neither circumstance applies, there must be “a history of use or




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other evidence of safety establishing that the dietary ingredient when used under the conditions

recommended or suggested in the labeling of the dietary supplement will reasonably be expected

to be safe.” 21 U.S.C. § 342(f). In addition, “at least 75 days before being introduced or

delivered for introduction into interstate commerce, the manufacturer or distributor of the dietary

ingredient or dietary supplement [must] provide[] FDA with information, including any citation

to published articles, which is the basis on which the manufacturer or distributor has concluded

that a dietary supplement containing such dietary ingredient will reasonably be expected to be

safe.” Id. The failure to comply with these requirements renders a new dietary ingredient

adulterated.

       69.     According to the FDA warning letters, acacia rigidula is adulterated because it is

a new dietary ingredient which was not lawfully marketed before October 14, 1994; it was not

present in the food supply as an article of food; and the FDA never received any premarket

notification demonstrating an acceptable safety profile, let alone 75 days before acacia rigidula

was delivered in interstate commerce.

       70.     GNC has not provided the FDA with the required 75-day premarket notification

showing a history of acacia rigidula’s safe use in food products or supplements or any other

evidence of safety, even though it knew or had reason to know that acacia rigidula was not

lawfully marketed as a dietary ingredient in the United States before October 15, 1994.

       71.     The sale of adulterated or misbranded dietary supplements violates federal and

state law, including state Food, Drug, and Cosmetic Acts. These requirements, moreover, apply

to manufacturers and distributors alike.

       72.     Acacia rigidula was openly found on the labels of a variety of supplements

available for sale at GNC, including the products that Plaintiffs purchased. Through this labeling,




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GNC misrepresented to Plaintiffs and consumers that supplements with acacia rigidula were

safe, could be legally sold in the United States, and contained their listed dietary ingredients.

                 GNC’s Control Over Vendors’ Labeling and Misleading Conduct

        73.     Along with selling supplements under its proprietary brands, GNC also sells many

products from third-party brands. GNC maintains that its large number of third-party offerings is

one of the key distinctions between it and its competitors. Because GNC has significant market

power as the largest supplement retailer, it exercises a great deal of control over the products

these third parties sell.

        74.     Before it sells third-party products in its stores, GNC reviews and pre-approves all

third-party product labels, warnings, packaging, and advertising sold in its stores. Third-party

vendors cannot alter approved formulas, labels, or advertising without express permission from

GNC. GNC also reviews proposals to reformulate third-party products and grants approval on

occasion.

        75.     GNC has stated publicly that it received guarantees from third-party vendors that

products containing picamilon, BMPEA, and acacia rigidula complied with legal requirements.

GNC’s third-party vendor agreement provides that the “Vendor Warrants that the Goods covered

by this purchase order have been manufactured, packaged, stored and shipped in accordance with

the applicable standards of Good Manufacturing Practices promulgated under the Food, Drug

and Cosmetic Act (21 U.S.C. §301, et seq., hereinafter “the Act”) and requirements of all

applicable federal, state and local laws, rules and regulations.”

        76.     Based on this language, GNC informed the Oregon Attorney General that it is not

liable for unlawful third-party vendor products sold at GNC stores or sold by GNC over the

Internet. GNC, however, did not rely on third-party vendor guarantees concerning picamilon,




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BMPEA, and acacia rigidula in good faith, because GNC knew or should have known that these

substances were not safe and could not be lawfully sold.

        77.     GNC also reviews scientific literature on the ingredients used in its third-party

products to independently verify claims made by third-parties. For example, an email exchange

on December 8, 2014, between Ms. Jackel and Christina Middleton, a GNC Associate Project

Manager, discussed the literature regarding ingredients in third-party products. Based on Ms.

Middleton’s review of the literature, Ms. Jakel decided which ingredients “looked promising” for

possible development by Nutra Manufacturing, GNC’s manufacturing arm.

        78.     Nutra Manufacturing manufactures and supplies vitamins and supplements to

GNC and other third-party companies. Nutra Manufacturing does not produce supplements that

contain picamilon, indicating that GNC knew that picamilon was not safe and was unlawful to

sell. GNC obtains products containing picamilon that are sold in GNC stores through third-party

vendors. Despite its control over the formulas, advertising, and packaging of third-party

supplements and its own review of scientific literature, GNC sold products in its stores that

contained picamilon, BMPEA, or acacia rigidula, which the FDA has stated are not lawful

dietary ingredients, and are therefore illegal to sell in the United States.

        79.     Through its control of its vendors’ labels, GNC misrepresented that supplements

with picamilon, BMPEA, oracacia rigidula contained ingredients that were safe for consumers

and legal to sell.

        80.     GNC’s false representations are germane to customers’ health and safety and are

therefore material because reasonable consumers would find them important in making their

purchase decision.




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       81.     As a result of GNC’s practices, Plaintiffs and proposed class members purchased

supplements that GNC sold unlawfully. Plaintiffs and the proposed class members purchased

supplements they would otherwise not have purchased, paid more for supplements than they

would have otherwise paid, and have been subjected to unreasonable safety risks.

       82.     While GNC represents on its website that “GNC sets the standard in the

nutritional supplement industry by demanding truth in labeling, ingredient safety and product

potency, all while remaining on the cutting-edge of nutritional science,” and that “GNC requires

its vendors to be honest, ethical, reliable and capable of providing products that meet our high

standards of quality,” these representations are untrue. GNC sells products obtained from third-

party vendors that GNC knows or should know contain unlawful and unsafe ingredients and

GNC sells third-party products that GNC knows, or should know, have labels that are deceptive.

                                 Affected Dietary Supplements

       83.     The following dietary supplements were sold by GNC with picamilon, BMPEA,

or acacia rigidula:

                                   Products with Picamilon

   Name                                        Manufacturer

   Charge Extreme Energy Booster               Labrada Bodybuilding Nutrition

   Lean Body for Her Fat Burner                Labrada Bodybuilding Nutrition

   Lean Body Hi Energy Fat Burn                Labrada Bodybuilding Nutrition

   Testek                                      QNT International, Inc.

   Riptek V2                                   QNT International, Inc.

   Tru Mangodrin                               Truderma, LLC

   Turbo Shred                                 Swole Sports Nutrition



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Jacked Pack                            BD Health Partners

Mr. Hyde - Fruit Punch                 Prosupps USA LLC

Mr. Hyde - Watermelon                  Prosupps USA LLC

Dr. Jekyll - Power Punch               Prosupps USA LLC

Dr. Jekyll - Watermelon                Prosupps USA LLC

Mr. Hyde - Orange Guava                Prosupps USA LLC

Vanish Bonus                           Prosupps USA LLC

Mr. Hyde - Red Razz                    Prosupps USA LLC

Mr. Hyde RTD Blue Razz                 Prosupps USA LLC

Mr. Hyde - Blue Razz                   Prosupps USA LLC

Mr. Hyde RTD Fruit Punch               Prosupps USA LLC

Nirvana                                Sensatus Group LLC

ENGN Fruit Punch                       Evlution Nutrition

ENGN Blue Razz                         Evlution Nutrition

ENGN Green Apple                       Evlution Nutrition



                           Products Labeled with BMPEA

Name                                   Manufacturer

Fastin                                 High Tech Pharmaceuticals

Fastin DMAA Free                       High Tech Pharmaceuticals

Meltdown Watermelon                    VPX Sports, Inc.

Meltdown Peach Mango                   VPX Sports, Inc.




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Meltdown Exotic Fruit                   VPX Sports, Inc.

Lipo 6 Black                            Nutrex Research

Meltdown                                VPX Sports, Inc.

Redline Ultra Hardcore Twinpk           VPX Sports, Inc.

Redline Ultra Hardcore Bonus            VPX Sports, Inc.

Redline Ultra Hardcore                  VPX Sports, Inc.

Redline Hardcore Blister Pak            VPX Sports, Inc.

Fruit N.O. Shotgun                      VPX Sports, Inc.

Grp Bgum Shotgun V3                     VPX Sports, Inc.

Craze — Candy Grape                     Driven Sports

Vanish Bonus                            Prosupps USA LLC

Shredz Burner                           Shredz Supplements

Iso Lean 2                              VPX Sports, Inc.

Iso Lean 3                              VPX Sports, Inc.

Methyl Drive 2.0                        VPX Sports, Inc.



                           Products with Acacia Rigidula

Name                                    Manufacturer

Hit Fastin XR                           Hi Tech Pharmaceuticals

Lipodrene XR                            Hi Tech Pharmaceuticals

Fastin XR DMAA Free                     Hi Tech Pharmaceuticals

Jetfuel Superburn                       World Health Products LLC




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   Green Coffee Bean + Energy                     Rightway Nutrition

   MX-LS7                                         Isatori Global Technologies

   Phenyl Core                                    Infinite Labs



                               CLASS ACTION ALLEGATIONS

       84.       Pursuant to Rule 23 of the Federal Rules of Civil Procedure, Plaintiffs bring this

action on behalf of themselves and proposed class and subclasses initially defined as:

       Nationwide Class:

       All persons in the United States who purchased a dietary supplement with

       picamilon, BMPEA, or acacia rigidula from GNC, other than for purposes of

       resale.

       Arkansas Sub-Class:

       All persons in Arkansas who purchased a dietary supplement with picamilon,

       BMPEA, or acacia rigidula from GNC, other than for purposes of resale.

       California Sub-Class:

       All persons in California who purchased a dietary supplement with picamilon,

       BMPEA, or acacia rigidula from GNC, other than for purposes of resale.

       Florida Sub-Class:

       All persons in Florida who purchased a dietary supplement with picamilon,

       BMPEA, or acacia rigidula from GNC, other than for purposes of resale.

       Iowa Sub-Class:

       All persons in Iowa who purchased a dietary supplement with picamilon,

       BMPEA, or acacia rigidula from GNC, other than for purposes of resale.



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       Michigan Sub-Class:

       All persons in Michigan who purchased a dietary supplement with picamilon,

       BMPEA, or acacia rigidula from GNC, other than for purposes of resale.

       Minnesota Sub-Class:

       All persons in Minnesota who purchased a dietary supplement with picamilon,

       BMPEA, or acacia rigidula from GNC, other than for purposes of resale.

       New Hampshire Sub-Class:

       All persons in New Hampshire who purchased a dietary supplement with

       picamilon, BMPEA, or acacia rigidula from GNC, other than for purposes of

       resale.

       New York Sub-Class:

       All persons in New York who purchased a dietary supplement with picamilon,

       BMPEA, or acacia rigidula from GNC, other than for purposes of resale.

       Pennsylvania Sub-Class:

       All persons in Pennsylvania who purchased a dietary supplement with picamilon,

       BMPEA, or acacia rigidula from GNC, other than for purposes of resale.

       Texas Sub-Class:

       All persons in Texas who purchased a dietary supplement with picamilon,

       BMPEA, or acacia rigidula from GNC, other than for purposes of resale.

       85.       Excluded from the proposed class and subclasses are Defendant, any parent,

affiliate, or subsidiary of Defendant; any entity in which Defendant has a controlling interest;

any of Defendant’s officers or directors; any successor or assign of Defendant; anyone




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employed by counsel for Plaintiffs; any Judge to whom this case is assigned, his or her spouse,

and all persons within a third degree of relationship to either of them.

       86.     Numerosity of the Classes – Fed. R. Civ. P. 23(a)(1). The members of the class

are so numerous that joinder of all members is impracticable. While the exact number of class

members is unknown to Plaintiffs at the present time and can only be ascertained through

appropriate discovery, Plaintiffs believe that there are tens of thousands of class members

located throughout the United States and thousands in each of the sub-class states. It would be

impracticable to join the class members individually. These members are readily ascertainable,

including through sales receipts and GNC Gold Card membership files maintained by GNC.

       87.     Existence and Predominance of Common Questions—Fed. R. Civ. P. 23(a)(2),

23(b)(3). Common questions of law and fact exist as to all class members and predominate over

questions affecting only individual class members. These common questions include whether:

               a.      GNC sold dietary supplement products with picamilon, BMPEA, or

                       acacia rigidula;

               b.      GNC represented that picamilon, BMPEA, and acacia rigidula were

                       dietary ingredients;

               c.      GNC’s representations regarding picamilon, BMPEA, and acacia

                       rigidula were otherwise false or deceptive;

               d.      GNC knew, or in the exercise of reasonable diligence should have

                       known, that its representations regarding picamilon, BMPEA, and acacia

                       rigidula in dietary supplements it sold were false or deceptive;

               e.      GNC’s representations regarding picamilon, BMPEA, and acacia

                       rigidula in dietary supplements would deceive a reasonable consumer;




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              f.      GNC’s representations regarding picamilon, BMPEA, and acacia

                      rigidula constitute unfair, deceptive, untrue, or misleading advertising;

              g.      GNC violated the consumer protection laws of Arkansas, California,

                      Florida, Iowa, Michigan, Minnesota, New Hampshire, New York,

                      Pennsylvania, and Texas.

              h.      GNC violated Arkansas’s Food, Drug, and Cosmetic Act, Ark. Code

                      Ann. § 20-56-201, et seq.; California’s Sherman Food, Drug, and

                      Cosmetics Act, Cal. Health & Safety Code § 109875, et seq.; Florida’s

                      Food Safety Act, Fla. Stat. Ann. § 500.01, et seq.; Michigan’s Food Law,

                      Mich. Comp. Laws 289.1101, et seq.; Minnesota’s Food Law, Minn. Stat.

                      Ann. § 34A.01, et seq.; New York’s Agriculture and Markets law, N.Y.

                      Agric. & Mkts. Law § 1, et seq.; New Hampshire’s Purity and Branding

                      of Foods and Drugs law, N.H. Rev. Stat. Ann.§ 146:1, et seq.;

                      Pennsylvania’s Food Safety Act, 3 Pa. C.S.A. § 5721, et seq.; and

                      Texas’s Food, Drug, and Cosmetic Act, Tex. Health & Safety Code

                      Ann.§ 431.001, et seq. by selling dietary supplement products with false

                      or misleading labeling in any particular or adulterated ingredients;

              i.      GNC’s conduct described above caused Plaintiffs and class members to

                      suffer injury, and they therefore may recover damages, or other legal and

                      equitable relief, and an award of attorneys’ fees, costs, and expenses.

       88.    Typicality – Fed. R. Civ. P. 23(a)(3). Plaintiffs’ claims are typical of the claims

of the class because, among other things, they purchased one of the affected supplements due to

GNC’s representations and lost money as a result.




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       89.     Adequacy of Representation – Fed. R. Civ. P. 23(a)(4). Plaintiffs are adequate

representatives because their interests are aligned with those of the class members they seek to

represent. Plaintiffs have retained counsel competent and experienced in complex class action

litigation, and Plaintiffs intend to prosecute this action vigorously on class members’ behalf.

       90.     Superiority – Fed. R. Civ. P. 23(b)(3). The action may be certified under Rule

23(b)(3) because common questions predominate as described above and because a class action

is the best available method for the fair and efficient adjudication of this controversy. This

litigation involves technical issues and targeted discovery of a sophisticated defendant, and

could not practically be taken on by individual litigants. In addition, individual litigation of

class members’ claims would be impracticable and unduly burdensome to the court system and

has the potential to lead to inconsistent results. A class action presents fewer management

problems and provides the benefits of a single adjudication, economies of scale, and

comprehensive supervision by a single court.

       91.     In the alternative to class certification under Rule 23(b)(3), the proposed class

may be certified under 23(b)(2) because GNC has acted or refused to act on grounds generally

applicable to the class, thereby making final injunctive relief or corresponding declaratory relief

appropriate with respect to the class.

                                 FIRST CAUSE OF ACTION
                Violations of the Magnuson-Moss Warranty Act (MMWA),
                 15 U.S.C. § 2301, et seq., for Breach of Implied Warranties
             (All Plaintiffs, Individually and on behalf of the Nationwide Class
                             and State Sub-Classes, Against GNC)

       92.     Plaintiffs, on behalf of themselves and the proposed classes, reallege as if fully set

forth, each and every allegation set forth above.




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       93.       The GNC dietary supplements are consumer products as defined in 15 U.S.C. §

2301(1).

       94.       Plaintiffs and the Classes are “consumers” as defined in 15 U.S.C. § 2301(3).

They are consumers because they are persons entitled under applicable state law to enforce

against the warrantor the obligations of its express and implied warranties.

       95.       GNC is a “supplier” and “warrantor” as defined in 15 U.S.C. §§ 2301(4) and (5).

       96.       Under 15 U.S.C. § 2310(d)(1), the MMWA provides a cause of action for any

consumer who is damaged by the failure of a warrantor to comply with an implied warranty.

       97.       In connection with its sale of the dietary supplements, GNC gave an implied

warranty of merchantability as defined in 15 U.S.C. § 2301(7). Specifically, GNC warranted

that the dietary supplements were fit for their ordinary purpose, to supplement the diet with

dietary ingredients, and would pass without objection in the trade.

       98.       GNC breached the implied warranty of merchantability and thereby violated the

MMWA by selling dietary supplements containing picamilon, BMPEA, or acacia rigidula to its

customers, including Plaintiffs and statewide class members, endangering their health thereby.

       99.       GNC’s breach of warranty has deprived Plaintiffs and the Classes of the benefit of

their bargain.

       100.      As a direct and proximate result of GNC’s conduct, Plaintiffs and the Classes

have suffered damages and continue to suffer damages and other losses in an amount to be

determined at trial.

       101.      Plaintiffs and each of the Class members have had sufficient direct dealings with

either GNC or its agents to establish privity of contract between GNC and Plaintiffs and each of

the Class members. Nonetheless, privity is not required here because Plaintiffs and each of the




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Class members are intended third-party beneficiaries of contracts between GNC and its third-

party manufacturers, and specifically, of GNC’s implied warranties. GNC’s warranty agreements

were designed for and intended to benefit the Class.

       102.    Privity also is not required because the dietary supplements are dangerous

instrumentalities due to the defect and nonconformities outlined herein.

       103.    Plaintiff Kyle Eager afforded GNC with a reasonable opportunity to cure its

class-wide breach pursuant to 15 U.S.C. § 2310.

       104.    Plaintiffs and the Class members have been damaged by GNC’s breach of the

implied warranty of merchantability and therefore seek damages, or other legal and equitable

relief, and an award of attorneys’ fees, costs, and expenses.

                                 SECOND CAUSE OF ACTION
                                  Breach of Implied Warranties
              (All Plaintiffs, Individually and on behalf of the Nationwide Class
                              and State Sub-Classes, Against GNC)

       105.    Plaintiffs, on behalf of themselves and the proposed classes, reallege as if fully set

forth, each and every allegation set forth above.

       106.    Defendant GNC is in the business of selling dietary supplements to consumers

such as Plaintiffs and members of the classes, including, but not limited to, dietary supplement

products with picamilon, BMPEA, or acacia rigidula of the kind sold to Plaintiffs and members

of the proposed statewide classes.

       107.    Plaintiffs and members of the classes purchased one of more supplements

labeled with picamilon, BMPEA, or acacia rigidula.

       108.    At all times herein mentioned, GNC manufactured, tested, advertised, promoted,

marketed, sold and/or distributed these dietary supplements.




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       109.    At the time GNC designed, researched, manufactured, tested, advertised,

promoted, marketed, sold and/or distributed the dietary supplements for use by Plaintiffs and

the Class members, GNC knew of the uses for which the dietary supplements were intended,

and impliedly warranted the products to be of merchantable quality.

       110.    GNC’s representations and warranties were false, misleading, and inaccurate, in

that the dietary supplements were not of merchantable quality because the products were

defective, would not pass without objection in the trade, were not fit for ordinary purposes, and

did not conform the promises on labeling.

       111.    Plaintiffs and the classes did rely on said implied warranty of merchantability.

       112.    Plaintiffs and the classes reasonably relied upon the skill and judgment of GNC

as to whether the dietary supplements were of merchantable quality.

       113.    The dietary supplements were injected into the stream of commerce by GNC

despite the fact that the dietary supplements were expected to and did reach users, handlers, and

persons coming into contact with the products without substantial change in the condition in

which they were sold.

       114.    GNC breached the implied warranties, because the products were defective,

could not deliver on the advertised claims, would not pass without objection in the trade, and

were not fit for ordinary purposes.

       115.    As a direct and proximate result of the breach of implied warranties, Plaintiffs

and the members of the proposed State Classes suffered and/or will continue to be harmed and

suffer economic loss.

       116.    GNC’s conduct breached its implied warranties regarding its products under state

implied warranty laws including:




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               a.      Ark. Code Ann. § 4-2-314 and § 4-2-315;

               b.      Cal. Com. Code § 2314 and § 2315;

               c.      Fla. Stat. § 672.314 and § 672.315;

               d.      Iowa Code § 554.2314 and § 554.2315;

               e.      Mich. Comp. Laws § 440.2314 and § 440.2315;

               f.      Minn. Stat. § 336.2-314 and §336.2-315;

               g.      N.H. Rev. Stat. Ann. § 382-A:2-314 and § 382-A:2-315;

               h.      N.Y. U.C.C. Law § 2-314 and § 2-315;

               i.      13 Pa. C.S.A.§ 2314 and § 2315; and

               j.      Tex. Bus. & Com. Code Ann. § 2.314 and § 2.315.

       117.    GNC received notice of these issues by the investigations of the FDA, the Oregon

Attorney General, numerous complaints filed against it including the instant Complaint, and by

individual letters and communications sent by Plaintiffs.

       118.    As a direct and proximate result of the foregoing acts and/or omissions, Plaintiffs

and the Class members have suffered damages, and are entitled to compensatory damages, costs

and reasonable attorneys’ fees.

                                THIRD CAUSE OF ACTION
                            Unjust Enrichment or Quasi-Contract
        (All Plaintiffs, Individually and on behalf of behalf of the Nationwide Class
                             and State Sub-Classes, Against GNC)

       119.    Plaintiffs, on behalf of themselves and the proposed classes, reallege as if fully

set forth, each and every allegation set forth above.

       120.    GNC has unjustly retained a benefit to the detriment of Plaintiffs and the

members of the proposed Nationwide Class and State Sub-Classes. GNC sold dietary

supplements to Plaintiff and other class members that were illegal because they contained



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picamilon, BMPEA, or acacia rigidula—chemicals which do not qualify as dietary ingredients

under federal law. GNC continues to possess money paid by Plaintiffs and the Nationwide Class

to which it was not entitled.

        121.    GNC’s retention of this benefit violates the fundamental principles of justice,

equity, and good conscience. Through its control of its vendors’ labels and its sale of affected

dietary supplement products to consumers, GNC misrepresented that its dietary supplements

and the ingredients contained within were lawful.

        122.    As a direct and proximate result of GNC’s conduct, Plaintiffs and the Class

members have suffered damages in an amount to be proven at trial.

                                  FOURTH CAUSE OF ACTION
                                   Negligent Misrepresentation
               (All Plaintiffs, Individually and on behalf of the Nationwide Class
                               and State Sub-Classes, Against GNC)

        123.    Plaintiffs repeat and reallege the allegations contained in the paragraphs above, as

if fully set forth herein.

        124.    Plaintiffs bring this claim on behalf of themselves and the proposed Classes.

        125.    GNC had a duty to disclose to Plaintiffs and Class members the product’s actual

quality and characteristics.

        126.    GNC negligently and/or carelessly misrepresented, omitted and concealed from

consumers material facts relating to the quality and characteristics of its products, including but

not limited to that they contain picamilon, BMPEA, or acacia rigidula.

        127.    These misrepresentations and omissions were material and concerned the specific

characteristics and quality of its products that a reasonable consumer would consider in

purchasing any dietary supplement.




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       128.    GNC made such false and misleading statements and omissions on its website and

product labeling, and in its advertisements and warranties, with the intention of inducing

Plaintiffs and the Class members to purchase the products.

       129.    As a result of GNC’s misstatements, it was under a duty to disclose facts

necessary to correct those misstatements. Further, GNC was in a better position to discover the

misrepresentations than Plaintiffs because GNC controlled the products’ design, manufacturing,

testing, and marketing processes.

       130.    At the time it made the representations, GNC knew, or by the exercise of

reasonable care should have known, that the statements were false.

       131.    GNC advertised and marketed its products with the intent to induce Plaintiffs and

Class members to purchase the products.

       132.    GNC knew or, should have known, that without the misrepresentations and/or

omissions, Plaintiffs and the classes would not have purchased the unsafe products.

       133.    Plaintiffs and the classes justifiably relied upon GNC’s misrepresentations about

the Product’s quality and characteristics.

       134.    Plaintiffs and the classes were unaware of the falsity of GNC’s misrepresentations

and omissions and, as a result, justifiably relied on them in deciding to purchase the GNC

Products. Had Plaintiffs and Class members been aware of the true nature and quality of the

Products, they would not have purchased it.

       135.    As a direct and proximate result of GNC’s misrepresentations and omissions of

material fact, Plaintiffs and Class members have suffered and will continue to suffer damages

and losses as alleged herein in an amount to be determined at trial.




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                                   FIFTH CAUSE OF ACTION
                     Violations of Arkansas’s Deceptive Trade Practices Act,
                                Ark. Code Ann. § 4-88-101, et seq.
                          (Plaintiff Matthew Shane Smith, Individually
                       and on behalf of the proposed Arkansas Sub-Class)

        136.    Plaintiffs repeat and reallege the allegations contained in the paragraphs above, as

if fully set forth herein.

        137.    The Arkansas Deceptive Trade Practices Act, Ark. Code Ann. § 4-88-101, et seq.

(the “ADTPA”), makes unlawful any “deceptive” and “unconscionable” trade practices and any

“deception,” “fraud,” or “false pretense” utilized in connection with the sale or advertisement of

any goods. GNC has violated and continues to violate the ADTPA.

        138.    GNC engaged in “deceptive trade practices,” as defined by Ark. Code Ann. §§ 4-

88-107 and 4-88-108, by:

                a.       Representing that products containing picamilon, BMPEA, or acacia

                         rigidula had approval or characteristics that they do not have;

                b.       Representing that products containing picamilon, BMPEA, or acacia

                         rigidula were of a particular standard, quality, or grade when they were

                         actually of another;

                c.       Omitting that products contained the unsafe compounds or ingredients of

                         picamilon, BMPEA, or acacia rigidula ; and

                d.       Advertising the products that contained picamilon, BMPEA or acacia

                         rigidula without intending to sell them as advertised.

        139.    GNC knew or should have known, from its internal product knowledge, research,

and available scientific literature, that picamilon, BMPEA and acacia rigidula were not a lawful

dietary ingredients, yet GNC falsely listed picamilon, BMPEA, and acacia rigidula as dietary




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ingredients on products and/or misrepresented BMPEA as an acacia rigidula extract and/or

omitted BMPEA on the labels altogether.

        140.    Reasonable consumers such as Plaintiff Smith and members of the Arkansas Sub-

Class would consider the misrepresentations and omissions as to the ingredients and quality of a

product material to the purchase of the affected products.

        141.    GNC intended that Plaintiff Smith and members of the Arkansas Sub-Class would

rely on the false and misleading representations and omissions.

        142.    Plaintiff Smith and members of the Arkansas Sub-Class justifiably relied on

GNC’s representations and omissions regarding the composition of its products containing

picamilon, BMPEA or acacia rigidula.

        143.    GNC’s conduct was also deceptive in that it violated the prohibition against false

or misleading labeling in the Arkansas’s Food, Drug, and Cosmetic Act, A.C.A. § 20-56-201, et

seq.

        144.    As a direct and proximate result of GNC’s conduct, Plaintiff Smith and the

Arkansas Sub-Class Members were harmed because they purchased products that they would not

have bought or otherwise paid a premium price for the products.

        145.    Plaintiff Smith and the Arkansas Sub-Class are entitled to actual damages,

reasonable attorneys’ fees, and costs.

                                  SIXTH CAUSE OF ACTION
                       Violations of California’s Unfair Competition Law,
                              Cal. Bus. & Prof. Code § 17200, et seq.
                     (Plaintiffs Kyle Eager and Robert Brooks, Individually
                      and on behalf of the proposed California Sub-Class)

        146.    Plaintiffs repeat and reallege the allegations contained in the paragraphs above, as

if fully set forth herein.




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       147.    The Unfair Competition Law, California Bus. & Prof. Code § 17200, et seq. (the

“UCL”), prohibits any “unlawful,” “unfair,” or “fraudulent” business acts or practices and any

false or misleading advertising. GNC has violated and continues to violate the UCL.

       148.    GNC’s acts or practices also constitutes unlawful business practices in that they

violate the Sherman Food, Drug, and Cosmetic Law, Cal. Health 7 Safety Code § 109875, et

seq., the Consumers Legal Remedies Act, Cal. Civ. Code § 1750, et seq., the Song-Beverly

Consumer Warranty Act, Cal. Civ. Code § 1790, et seq., and applicable federal laws and

regulations.

       149.    Plaintiffs Eager and Brooks, individually and on behalf of the other members of

the California Sub-Class, reserve the right to allege other violations of law which constitute other

unlawful business acts or practices. Such violative conduct is ongoing and continues to this date.

       150.    GNC’s acts and practices constitute “unfair” business practices because, as

alleged above, GNC engages in inter alia deceptive and false advertising, and misrepresents and

omits material facts regarding its dietary supplements with picamilon, BMPEA, or acacia

rigidula, and thereby violates established public policy, and engages in immoral, unethical,

oppressive, or unscrupulous activities that are substantially injurious to consumers like Plaintiffs

and other members of the California Sub-Class. This conduct constitutes violations of the

“unfair” prong of the UCL.

       151.    GNC’s acts and practices also constitute fraudulent practices in that they are false,

misleading, and likely to deceive reasonable consumers like Plaintiffs, and other members of the

California Sub-Class. GNC falsely represented that its dietary supplement products contained

legal dietary ingredients. A reasonable consumer would not have purchased the affected dietary

supplements from GNC if they had been aware of this fact.




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        152.    GNC’s fraudulent acts and practices also constitute “unfair” business practices in

that:

                a.      The legitimate utility of GNC’s conduct is outweighed by the harm to

                        Plaintiffs and other members of the California Sub-Class;

                b.      GNC’s conduct is immoral, unethical, oppressive, or unscrupulous

                        activities that are substantially injurious to consumers like Plaintiffs, and

                        other members of the California Sub-Class;

                c.      GNC’s conduct violates the policies underlying the Consumers Legal

                        Remedies Act, Cal. Civ. Code § 1750, et seq. – to protect consumers from

                        unfair or deceptive business practices.

        153.    There were reasonably available alternatives to further GNC’s legitimate business

interests, other than the conduct described herein.

        154.    As a direct and proximate result of GNC’s unlawful, unfair, and fraudulent

business practices as alleged above, Plaintiffs and the California Sub-Class have suffered injury

in fact and lost money or property, because they purchased and paid for dietary supplements

from GNC that they otherwise would not have, or would not have paid as much for them as they

did. Meanwhile, GNC has generated more revenue than it otherwise would have and charged

inflated prices for its products, unjustly enriching itself.

        155.    Plaintiffs Eager and Brooks and the California Sub-Class are entitled to equitable

relief, including restitutionary disgorgement of all profits accruing to GNC because of its

unlawful, unfair, fraudulent, and deceptive acts and practices; reasonable attorneys’ fees and

costs; declaratory relief; injunctive relief; and all other relief this Court deems appropriate,

consistent with Cal. Bus. & Prof. Code § 17203.




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                                  SEVENTH CAUSE OF ACTION
                     Violations of California’s Consumers Legal Remedies Act,
                                    Cal. Civ. Code § 1750, et seq.
                      (Plaintiffs Kyle Eager and Robert Brooks, Individually
                        and on behalf of the proposed California Sub-Class)

        156.    Plaintiffs repeat and reallege the allegations contained in the paragraphs above, as

if fully set forth herein.

        157.    Plaintiffs Eager and Brooks and members of the California Sub-Class are

“consumers” within the meaning of Cal. Civ. Code §§ 1761(d) and 1770, and each has engaged

in a “transaction” within the meaning of Cal. Civ. Code §§ 1761(e) and 1770.

        158.    GNC is a “person” within the meaning of Cal. Civ. Code §§ 1761(c) and 1770,

and provided “goods” within the meaning of Cal. Civ. Code §§ 1761(a) and 1770.

        159.    GNC’s acts and practices, as alleged in this Consolidated Amended Complaint,

violate California’s Consumers Legal Remedies Act (“CLRA”), Cal. Civ. Code §§ 1770(a)(5),

(7), (9), (14), and (16), by engaging in unfair methods of completion and unfair and deceptive

acts and practices in connection with transactions, namely, the sale of dietary supplements with

picamilon, BMPEA, or acacia rigidula to Plaintiffs and members of the California Sub-Class.

This conduct was intended to result and did result in the sale of these goods to consumers.

Specifically, GNC:

                a.       Represented that dietary supplements with picamilon, BMPEA or acacia

                         rigidula had approval or characteristics that they did not have;

                b.       Represented that dietary supplements with picamilon, BMPEA or acacia

                         rigidula were of a particular standard, quality or grade when they were

                         actually of another;




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                c.      Advertising the dietary supplements with picamilon, BMPEA, or acacia

                        rigidula without intent to sell them as advertised;

                d.      Represented that consumers’ purchases of dietary supplements with

                        picamilon, BMPEA, or acacia rigidula conferred or involved rights that

                        the transactions did not have or involve; and

                e.      Represented that dietary supplements with picamilon, BMPEA, or acacia

                        rigidula were supplied in accordance with GNC’s representations, when

                        the dietary supplements were not supplied that way.

        160.    GNC was in a position to know, both from its own product knowledge and the

available scientific literature on Picamilon, BMPEA, and acacia rigidula referenced above,

while consumers were not reasonably in a position to be aware of GNC’s internal product

information or such studies.

        161.    GNC intended that Plaintiffs and the California Sub-Class members would rely on

the false and misleading representations, and any reasonable consumer would deem the false and

misleading representations material to the purchase of the affected dietary supplements.

        162.    As a direct and proximate result of GNC’s conduct, Plaintiffs and the California

Sub-Class members have been harmed, in that they purchased products that they otherwise

would not have. Meanwhile, GNC has generated more revenue than it otherwise would have,

unjustly enriching itself.

        163.    Plaintiffs and the California Sub-Class is entitled to equitable relief, reasonable

attorneys’ fees and costs, declaratory relief, and a permanent injunction enjoining GNC from its

unlawful, fraudulent, and deceitful activity.




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        164.    Pursuant to Cal. Civ. Code § 1782(a), Plaintiff Eager sent GNC a letter on behalf

of himself and a proposed nationwide class of consumers on January 12, 2016, demanding that

GNC rectify the problems listed herein. GNC has failed to rectify or agree to rectify the

problems associated with the actions detailed above and give notice to all affected consumers

within the proscribed 30-day time period for written notice pursuant to Cal. Civ. Code § 1782.

        165.    Due to GNC failing to rectify or otherwise agreeing to rectify the problems

associated with the actions detailed above, Plaintiff seeks to further recover actual or statutory

compensatory/monetary damages as authorized by Cal. Civ. Code § 1780(a)(1), restitution as

applicable and authorized under Cal. Civ. Code § 1780(a)(3), and punitive damages as

authorized by Cal. Civ. Code § 1780(a)(4), which are appropriate in this case in light of GNC’s

knowing, intentional, fraudulent, and unconscionable conduct, as well as GNC’s reckless

disregard of its legal obligations to Plaintiff and the California Sub-Class members, and as

otherwise recoverable under Cal. Civ. Code § 1780(a)(4).

                                  EIGHTH CAUSE OF ACTION
                        Violations of California’s False Advertising Law,
                              Cal. Bus. & Prof. Code § 17500, et seq.
                     (Plaintiffs Kyle Eager and Robert Brooks, Individually
                      and on behalf of the proposed California Sub-Class)

        166.    Plaintiffs repeat and reallege the allegations contained in the paragraphs above, as

if fully set forth herein.

        167.    California’s False Advertising Law, Cal. Bus. & Prof. Code § 17500, et seq.

(“FAL”), makes it unlawful for any person or corporation “to make or disseminate or cause to be

made or disseminated before the public in this state, or to make or disseminate or cause to be

made or disseminated from this state before the public in any state, in any . . . advertising

device, . . . or in any other manner or means whatever, including over the Internet, any statement,




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concerning . . . personal property or those services, professional or otherwise, or concerning any

circumstance or matter of fact connected with the proposed performance or disposition thereof,

which is untrue or misleading, and which is known, or which by the exercise of reasonable care

should be known, to be untrue or misleading.”

       168.    The advertisements at issue in this case were made or caused to be made before

the public in California, either in terms of statements on GNC’s website, or the product

packaging of the dietary supplements with picamilon or BMPEA.

       169.    GNC committed acts of false or misleading advertising when it:

               a.     Represented that dietary supplements with picamilon, BMPEA, or acacia

                      rigidula had approval or characteristics that they did not have;

               b.     Represented that dietary supplements with picamilon, BMPEA, or acacia

                      rigidula were of a particular standard, quality or grade when they were

                      actually of another; and

               c.     Represented that dietary supplements with picamilon, BMPEA, or acacia

                      rigidula were supplied in accordance with GNC’s representations, when

                      the dietary supplements were not supplied that way.

       170.    GNC was either aware, or should have known through the exercise of reasonable

care, that their representations and omissions of material facts concerning ingredients of the

dietary supplement with picamilon, BMPEA, or acacia rigidula were untrue or misleading.

       171.    GNC’s actions were untrue or misleading in that the general public targeted by

GNC to act upon such advertisements were likely to be deceived.

       172.    Plaintiffs Eager and Brooks and members of the California Sub-Class were

injured in fact and lost money or property as a result of GNC’s FAL violations because they




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would not have purchased the dietary supplements with picamilon, BMPEA, or acacia rigidula,

or would not have paid the price that they did if the true facts about the dietary supplements with

picamilon, BMPEA, or acacia rigidula had been fully and timely disclosed, and the dietary

supplements with picamilon, BMPEA, or acacia rigidula they received were worth substantially

less than what they were promised by GNC and expected. Plaintiffs and members of the

California Sub-Class are therefore entitled to equitable monetary relief and injunctive relief.

                                 NINTH CAUSE OF ACTION
               Violations of Florida’s Deceptive and Unfair Trade Practices Act,
                                   Fla. Stat. § 501.201, et seq.
                 (Plaintiff Mary Jo Cesario, Individually and on behalf of the
                                  proposed Florida Sub-Class)

        173.    Plaintiffs repeat and reallege the allegations contained in the paragraphs above, as

if fully set forth herein.

        174.    The Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. § 501.201, et

seq. (the “FDUTPA”), makes unlawful any “unconscionable acts or practices, and unfair or

deceptive acts or practices in the conduct of any trade or commerce.” GNC has violated and

continues to violate the FDUTPA.

        175.    GNC engaged in “deceptive” trade practices, as identified in Fla. Stat. §§

501.203, and 501.204 by:

                a.       Representing that products containing picamilon, BMPEA, or acacia

                         rigidula had approval or characteristics that they did not have;

                b.       Representing that products containing picamilon, BMPEA, or acacia

                         rigidula were of a particular standard, quality, or grade when they were

                         actually of another;




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               c.     Omitting that products contained the unsafe compounds or ingredients of

                      picamilon, BMPEA, or acacia rigidula; and

               d.     Advertising the products that contained picamilon, BMPEA, or acacia

                      rigidula without intending to sell them as advertised.

       176.    GNC knew or should have known, from its internal product knowledge, research,

and available scientific literature, that picamilon, BMPEA, or acacia rigidula were not lawful

dietary ingredients, yet GNC falsely listed, or sold products that GNC knew falsely listed,

picamilon, BMPEA, or acacia rigidula as dietary ingredients on various products and/or

misrepresented BMPEA, as an acacia rigidula extract and/or omitted BMPEA on the labels

altogether.

       177.    Reasonable consumers such as Plaintiff Cesario and members of the Florida Sub-

Class, would consider the misrepresentations and omissions as to the ingredients and quality of a

product material to the purchase of the affected products.

       178.    Plaintiff and members of the Florida Sub-Class justifiably relied on GNC’s

representations and omissions regarding the composition of its products containing picamilon,

BMPEA, or acacia rigidula .

       179.    GNC’s conduct was also deceptive in that it violated the prohibition against false

or misleading labeling in the Florida’s Food Safety Act, Fla. Stat. § 500.01, et seq., and the Fla.

Admin. Code. r. 5K4.002.

       180.    As a direct and proximate result of GNC’s conduct, Plaintiff and members of the

Florida Sub-Class were harmed because they purchased products that they would not have

bought, or otherwise paid a premium price for the products.




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        181.    Plaintiff and the Florida Sub-Class are entitled to actual damages, costs,

reasonable attorneys’ fees and costs, a declaratory judgment that GNC’s aforementioned conduct

violates the FDUPTA, and an injunction precluding GNC from engaging in conduct that

continues to violate the FDUTPA.

                                TENTH CAUSE OF ACTION
            Violations of Iowa’s Private Right of Action for Consumer Frauds Act,
                                   Iowa Code Chapter 714H
                   (Plaintiff Chris Lynch, Individually and on behalf of the
                                   proposed Iowa Sub-Class)

        182.    Plaintiffs repeat and reallege the allegations contained in the paragraphs above, as

if fully set forth herein.

        183.    GNC has engaged in unfair, deceptive, untrue and misleading business practices

in violation of Iowa law.

        184.    GNC has violated this statutory prohibition against engaging in unlawful acts and

practices by, inter alia, making the representations and omissions of material facts with the

“intent that others rely upon the unfair practice, deception, fraud, false pretense, false promise,

misrepresentation, concealment, suppression, or omission” in connection with the sale of its

garments. Iowa Code Ann. § 714H.3.

        185.    Pursuant to Iowa law, GNC had a statutory duty to refrain from unfair or

deceptive acts or practices in the manufacture, promotion, and sale of the Products to Plaintiff

Lynch and the Class members.

        186.    In connection with the sale of its consumer merchandise, GNC engaged in unfair

and deceptive acts and practices, as alleged in this Complaint, including, without limitation:

                a.       Unfairly and deceptively misrepresenting the benefits and quality of its

                         Products to its customers;




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               b.      Unfairly and deceptively advertising the actual ingredients of the

                       Products; and

               c.      Unfairly and deceptively omitting that the Products contain the unsafe

                       compounds or ingredients of picamilon, BMPEA, or acacia rigidula .

       187.    As a result of the unfair and deceptive conduct of GNC, Plaintiff Lynch

sustained damages including but not limited to the damages detailed above, incorporated herein.

       188.    Pursuant to the Iowa law, GNC had a statutory duty to refrain from unfair or

deceptive acts or practices in the manufacture, promotion, and sale of the dietary supplements to

Plaintiff Lynch and the Class members.

       189.    GNC intended that Plaintiff Lynch and the Class members rely on its materially

deceptive advertisements and misrepresentations and purchase its Products as a consequence of

the deceptive practices.

       190.    GNC’s deceptive representations and material omissions to Plaintiff Lynch and

the Class members constitute unfair and deceptive acts and practices under Iowa Law.

       191.    GNC engaged in wrongful conduct while at the same time obtaining, under false

pretenses, significant sums of money from Plaintiff and the Class members.

       192.    Plaintiff Lynch and the Class members were actually deceived by CNG’s

misrepresentations.

       193.    As a proximate result of GNC’s misrepresentations, Plaintiff Lynch and the

Class members have suffered ascertainable losses, in an amount to be determined at trial.

       194.    Prior to filing this suit, counsel for Plaintiff Lynch received approval from the

Attorney General of Iowa pursuant to Iowa Code Ann. § 714H.7.




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                                 ELEVENTH CAUSE OF ACTION
                        Violations of Michigan’s Consumer Protection Act,
                              Mich. Comp. Laws Ann. §445.901, et seq.
              (Plaintiffs Jeff Johnston and Martine Landuit Vartanian, Individually
                        and on behalf of the proposed Michigan Sub-Class)

        195.     Plaintiffs repeat and reallege the allegations contained in the paragraphs above, as

if fully set forth herein.

        196.     Plaintiffs Johnston and Vartanian brings this claim on their own behalf and on

behalf of each member of the Class described above.

        197.     GNC, by the actions complained of herein has violated the Michigan Consumer

Protection Act, Mich. Comp. Laws Ann. §445.901, et seq. (“MCPA”) entitling Plaintiff and the

members of the Class to damages and relief under the MCPA.

        198.     In connection with the sale of its consumer products, Defendant engaged in

unfair and deceptive acts and practices, as alleged in this Complaint, including, without

limitation:

                 a.      Unfairly and deceptively misrepresenting the benefits and quality of its

                         Products to its customers;

                 b.      Unfairly and deceptively advertising the actual ingredients         of the

                         Products; and

                 c.      Unfairly and deceptively omitting that the Products contain the unsafe

                         compounds or ingredients of picamilon, BMPEA, or acacia rigidula.

        199.     GNC’s conduct was also deceptive in that it violated the prohibition against false

or misleading labeling in Michigan’s Food Law, Mich. Comp. Laws Ann. 289.1101, et seq.

        200.     GNC’s conduct as set forth herein occurred in the course of trade or commerce.




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        201.    GNC’s conduct as set forth herein affects the public interest because it was part

of a generalized course of conduct affecting numerous customers throughout the country.

        202.    Plaintiffs Johnston and Vartanian and Michigan Sub-Class members inherently

relied on the materially deceptive advertisements and misrepresentations GNC made to

Plaintiffs and the class regarding its Products.

        203.    As a proximate result of Defendant’s misrepresentations, Plaintiffs Johnston and

Vartanian and the Michigan Sub-Class members have suffered ascertainable losses, in an

amount to be determined at trial.

        204.    GNC is liable to Plaintiffs and Class members for damages in an amount to be

determined at trial, including attorneys’ fees, costs and statutory damages, and should be

enjoined from continuing to engage in these unlawful, deceptive, unreasonable and unlawful

practices as alleged herein.

                                TWELFTH CAUSE OF ACTION
                    Violations of Minnesota’s Unlawful Trade Practices Act,
                                Minn. Stat. Ann. § 325D.09, et seq.
                    (Plaintiff Dan Malecha, Individually and on behalf of the
                                 proposed Minnesota Sub-Class)

        205.    Plaintiffs repeat and reallege the allegations contained in the paragraphs above, as

if fully set forth herein.

        206.    The Minnesota Unlawful Trade Practices Act, Minn. Stat. Ann. § 325D.09, et seq.

(the “MUTPA”), makes unlawful the knowing “misrepresentation, directly or indirectly,” of the

“true quality” or “ingredients” of merchandise. GNC has violated and continues to violate the

MUTPA.

        207.    GNC knowingly misrepresented the “quality” and “ingredients” of its products, as

prohibited by Minn. Stat. Ann. § 325D.13, by:




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               a.     Representing that products containing picamilon, BMPEA, or acacia

                      rigidula had approval or characteristics that they did not have;

               b.     Representing that products containing picamilon, BMPEA, or acacia

                      rigidula were of a particular standard, quality, or grade when they were

                      actually of another; and

               c.     Omitting that the products contained the unsafe compounds or ingredients

                      of picamilon, BMPEA, or acacia rigidula.

       208.    GNC knew or should have known, from its internal product knowledge, research,

and available scientific literature, that picamilon, BMPEA, and acacia rigidula were not a lawful

dietary ingredients, yet GNC falsely listed, or sold products that GNC knew falsely listed,

picamilon, BMPEA, or acacia rigidula as dietary ingredients on various products and/or

misrepresented BMPEA, as an acacia rigidula extract and/or omitted BMPEA on the labels

altogether.

       209.    Reasonable consumers such as Plaintiff Malecha and members of the Minnesota

Sub-Class, and particularly health-conscious individuals who shop at GNC, would consider the

misrepresentations and omissions as to the ingredients and quality of a product material to the

purchase of the affected products.

       210.    GNC intended that Plaintiff Malecha and members of the Minnesota Sub-Class

would rely on GNC’s false and misleading representations and omissions.

       211.    Plaintiff Malecha and members of the Minnesota Sub-Class justifiably relied on

GNC’s representations and omissions regarding the composition of its products containing

picamilon, BMPEA, or acacia rigidula.




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        212.    GNC’s conduct was also an unlawful trade practice in that it violated the

prohibition against false or misleading labeling in Minnesota’s Food Law, M.S.A. § 34A.01, et

seq.

        213.    As a direct and proximate result of GNC’s conduct, Plaintiff Malecha and

members of the Minnesota Sub-Class were harmed because they purchased products that they

would not have bought or otherwise paid a premium price for the products.

        214.     Plaintiff Malecha and the Minnesota Sub-Class are entitled to actual damages and

an injunction precluding GNC from engaging in conduct that continues to violate the MUTPA.

                              THIRTEENTH CAUSE OF ACTION
               Violations of Minnesota’s Uniform Deceptive Trade Practices Act,
                                Minn. Stat. Ann. § 325D.43, et seq.
                    (Plaintiff Dan Malecha, Individually and on behalf of the
                                 proposed Minnesota Sub-Class)

        215.    Plaintiffs repeat and reallege the allegations contained in the paragraphs above, as

if fully set forth herein.

        216.    The Minnesota Uniform Deceptive Trade Practices Act, Minn. Stat. Ann. §

325D.43, et seq. (the “MUDTPA”), makes unlawful any “deceptive” trade practices utilized in

connection with the sale or advertisement of any goods. GNC has violated and continues to

violate the MUDTPA.

        217.    GNC engaged in “deceptive trade practices,” as defined by Minn. Stat. Ann. §

325D.44, by:

                a.       Representing that products containing picamilon, BMPEA, or acacia

                         rigidula had approval or characteristics that they did not have;




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               b.        Representing that products containing picamilon, BMPEA, or acacia

                         rigidula were of a particular standard, quality, or grade when they were

                         actually of another;

               c.        Omitting that products contained the unsafe compounds or ingredients of

                         picamilon, BMPEA, or acacia rigidula; and

               d.        Advertising the products containing picamilon, BMPEA, or acacia

                         rigidula without intending to sell them as advertised.

       218.    GNC knew, from its internal product knowledge, research, and available scientific

literature, that picamilon, BMPEA, and acacia rigidula were not a lawful dietary ingredients, yet

GNC falsely listed picamilon, BMPEA, or acacia rigidula as dietary ingredients on various

products and/or misrepresented BMPEA as an acacia rigidula extract and/or omitted BMPEA on

the labels altogether.

       219.    Reasonable consumers such as Plaintiff Malecha and members of the Minnesota

Class, would consider the misrepresentations and omissions as to the ingredients and quality of a

product material to the purchase of the affected products.

       220.    GNC intended that Plaintiff Malecha and members of the Minnesota Class would

rely on the false and misleading representations and omissions.

       221.    Plaintiff Malecha and the Minnesota Sub-Class members justifiably relied on

GNC’s representations and omissions regarding the composition of its products containing

Picamilon and BMPEA.

       222.    GNC’s conduct was also deceptive in that it violated the prohibition against false

or misleading labeling in Minnesota’s Food Law, Minn. Stat. Ann. § 34A.01, et seq.




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        223.    As a direct and proximate result of GNC’s conduct, Plaintiff Malecha and the

Minnesota Sub-Class members were harmed because they purchased products that they would

not have bought or otherwise paid a premium price for the products.

        224.    Plaintiff Malecha and the Minnesota Class are entitled to costs, reasonable

attorneys’ fees, an injunction precluding GNC from engaging in conduct that continues to violate

the MUDTPA, and any additional relief awarded to redress Plaintiffs’ common law claims.

                               FOURTEENTH CAUSE OF ACTION
                          Violations of Minnesota’s Consumer Fraud Act,
                                 Minn. Stat. Ann. § 325F.68, et seq.
                     (Plaintiff Dan Malecha, Individually and on behalf of the
                                  proposed Minnesota Sub-Class)

        225.    Plaintiffs repeat and reallege the allegations contained in the paragraphs above, as

if fully set forth herein.

        226.    The Minnesota Consumer Fraud Act, Minn. Stat. Ann. § 325F.68, et seq. (the

“MCFA”), makes unlawful any “fraud, false pretense, false promise, misrepresentation,

misleading statement or deceptive practice, with the intent that others rely thereon in connection

with the sale of any merchandise, whether or not any person has in fact been misled, deceived, or

damaged…” GNC has violated and continues to violate the MCFA.

        227.    GNC engaged in “misleading” and “deceptive” practices, as defined by Minn.

Stat. Ann. § 325F.69, by:

                a.       Representing that products containing picamilon, BMPEA, or acacia

                         rigidula had approval or characteristics that they did not have;

                b.       Representing that products containing picamilon, BMPEA, or acacia

                         rigidula were of a particular standard, quality, or grade when they were

                         actually of another;




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               c.     Omitting that products contained the unsafe compounds or ingredients of

                      picamilon, BMPEA, or acacia rigidula; and

               d.     Advertising the products containing picamilon, BMPEA, or acacia rigidula

                      without intending to sell them as advertised.

       228.    GNC knew or should have known, from its internal product knowledge, research,

and available scientific literature, that picamilon, BMPEA, and acacia rigidula were not lawful

dietary ingredients, yet GNC falsely listed picamilon, BMPEA, and acacia rigidula as dietary

ingredients on various products and/or misrepresented BMPEA as an acacia rigidula extract

and/or omitted BMPEA on the labels altogether.

       229.    Reasonable consumers like Plaintiff Malecha and members of the Minnesota Sub-

Class would consider the misrepresentations and omissions as to the ingredients and quality of a

product material to the purchase of the affected products.

       230.    GNC intended that Plaintiff Malecha and the members of the Minnesota Sub-

Class would rely on the false and misleading representations and omissions.

       231.    Plaintiff Malecha and the members of the Minnesota Sub-Class justifiably relied

on GNC’s representations and omissions regarding the composition of its products containing

picamilon, BMPEA, or acacia rigidula.

       232.    As a direct and proximate result of GNC’s conduct, Plaintiff Malecha and

members of the Minnesota Class were harmed because they purchased products that they would

not have bought or otherwise paid a premium price for the products.

       233.    Plaintiff Malecha and the Minnesota Class are entitled to actual damages, costs,

reasonable attorneys’ fees, a declaratory judgment that GNC’s aforementioned conduct violates




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Minnesota’s Consumer Fraud Act, and an injunction precluding GNC from engaging in conduct

that continues to violate the MCPA.

                               FIFTEENTH CAUSE OF ACTION
                 Violations of Minnesota’s False Statement in Advertising Act,
                                   Minn. Stat. Ann. § 325F.67
                   (Plaintiff Dan Malecha, Individually and on behalf of the
                                 proposed Minnesota Sub-Class)

        234.    Plaintiffs repeat and reallege the allegations contained in the paragraphs above, as

if fully set forth herein.

        235.    The Minnesota False Statement in Advertising Act, Minn. Stat. Ann. § 325F.67

(the “MFSAA”), precludes corporations from placing before the public a “label” or

“advertisement of any sort regarding merchandise” for sale that “contains any material assertion,

representation, or statement of fact which is untrue, deceptive, or misleading . . . ” GNC has

violated and continues to violate the MFSAA.

        236.    GNC “placed before the public” labels or other advertisements that contained

untrue, deceptive, or misleading assertions, representations, and facts, as defined by Minn. Stat.

Ann. § 325F.67, by:

                a.       Representing that products containing picamilon, BMPEA, or acacia

                         rigidula had approval or characteristics that they did not have;

                b.       Representing that products containing picamilon, BMPEA, or acacia

                         rigidula were of a particular standard, quality, or grade when they were

                         actually of another;

                c.       Omitting that products contained the unsafe compounds or ingredients of

                         picamilon, BMPEA, or acacia rigidula; and




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               d.      Advertising the products containing picamilon, BMPEA, or acacia

                       rigidula without intending to sell them as advertised.

       237.    GNC knew or should have known, from its internal product knowledge, research,

and available scientific literature, that picamilon, BMPEA, or acacia rigidula were not lawful

dietary ingredients, yet GNC falsely listed picamilon, BMPEA, or acacia rigidula as dietary

ingredients on various products and/or misrepresented BMPEA as an acacia rigidula extract

and/or omitted BMPEA on the labels altogether.

       238.    Reasonable consumers such as Plaintiff Malecha and members of the Minnesota

Sub-Class, would consider the misrepresentations and omissions as to the ingredients and quality

of a product material to the purchase of the affected products.

       239.    GNC intended that Plaintiff Malecha and members of the Minnesota Sub-Class

would rely on the false and misleading representations and omissions.

       240.    Plaintiff Malecha and members of the Minnesota Sub-Class justifiably relied on

GNC’s representations and omissions regarding the composition of its products containing

Picamilon and BMPEA.

       241.    As a direct and proximate result of GNC’s conduct, Plaintiff Malecha and

members of the Minnesota Sub-Class were harmed because they purchased products that they

would not have bought or otherwise paid a premium price for the products.

       242.    Plaintiff Malecha and the Minnesota Sub-Class are entitled to actual damages,

costs, reasonable attorneys’ fees, a declaratory judgment that GNC’s aforementioned conduct

violates Minnesota’s False Statement in Advertising Act, and an injunction precluding GNC

from engaging in conduct that continues to violate the MFSAA.




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                               SIXTEENTH CAUSE OF ACTION
                          Minnesota’s Private Attorney General Statute
                                  Minn. Stat. Ann. § 8.31, et seq.
                    (Plaintiff Dan Malecha, Individually and on behalf of the
                                 proposed Minnesota Sub-Class)

        243.    Plaintiffs repeat and reallege the allegations contained in the paragraphs above, as

if fully set forth herein.

        244.    Plaintiff Malecha and the Minnesota Sub-Class members are consumers.

        245.    Plaintiff and the Minnesota Sub-Class members were injured by GNC’s sale of

merchandise.

        246.    Plaintiff Malecha and the Minnesota Sub-Class members were injured by GNC’s

violation of the MUTPA, MUDTPA, MCFA, MFSAA, and Minnesota’s Food Law,Minn. Stat.

Ann. § 34A.01, et seq..

        247.    Plaintiff Malecha and the Minnesota Sub-Class members have suffered damages

with a causal nexus to Defendant’s above-alleged misrepresentations and deceptive practices.

        248.    This action will benefit the public interest and, therefore, meets the requirements

of Minnesota’s Private Attorney General Statute, Minn. Stat. Ann. § 8.31, et seq.

                             SEVENTEENTH CAUSE OF ACTION
                         Violations of New York’s General Business Law,
                                     N.Y. Gen. Bus. Law § 349
                      (Plaintiff Cory Toth, Individually and on behalf of the
                                  proposed New York Sub-Class)

        249.    Plaintiffs repeat and reallege the allegations contained in the paragraphs above, as

if fully set forth herein.

        250.    GNC’s business acts and practices alleged herein constitute deceptive acts or

practices under the New York General Business Law, Deceptive Acts and Practices, N.Y. Gen.

Bus. Law § 349 (“NYGBL”).




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        251.   The practices of GNC, described throughout this Complaint, violate the NYGBL

for, inter alia, one or more of the following reasons:

               a.      GNC unfairly and deceptively misrepresented the benefits and quality of

                       its Products to its customers;

               b.      GNC unfairly and deceptively advertised the actual ingredients of the

                       Products; and

               c.      GNC unfairly and deceptively omitted that the Products contain the

                       unsafe compounds or ingredients of picamilon, BMPEA, or acacia

                       rigidula.

        252.   GNC’s conduct was also deceptive in that it violated the prohibition against false

or misleading labeling in New York’s Agriculture and Markets law, N.Y. Agric. & Mkts. Law §

1, et seq.

        253.   Under all of the circumstances, GNC’s conduct in employing these unfair and

deceptive trade practices was malicious, willful, wanton, and outrageous such as to shock the

conscience of the community and warrant punitive damages.

        254.   GNC’s actions impact the public interest because Plaintiff Toth and members of

the New York Sub-Class were injured in exactly the same way as thousands of others

purchasing the dietary supplements with picamilon, BMPEA, or acacia rigidula as a result of

and pursuant to GNC’s generalized course of deception.

        255.   The foregoing acts, omissions and practices proximately caused Plaintiff Toth

and the other members of the New York Sub-Class to suffer ascertainable losses, in an amount

to be determined at trial, and are entitled to recover such damages, together with all other

appropriate damages, attorneys’ fees and costs of suit.




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                           EIGHTEENTH CAUSE OF ACTION
                 Violations of New Hampshire’s Consumer Protection Act,
                             N.H. Rev. Stat. Ann. §358-A, et seq.
  (Plaintiff Joseph Lambert, Individually and on behalf of the proposed New Hampshire
                                         Sub-Class)

        256.    Plaintiffs repeat and reallege the allegations contained in the paragraphs above, as

if fully set forth herein.

        257.    GNC has represented to Plaintiff Lambert and members of the New Hampshire

Sub-Class that its Products have characteristics, uses, and benefits that they do not have, in

violation of RSA §358-A:2(V).

        258.    GNC has also represented to Plaintiff Lambert and members of the New

Hampshire Sub-Class that its Products were of a particular standard, quality or grade which they

were not, in violation of RSA §358- A:2(VII).

        259.    In addition, Plaintiff Lambert and the Class members have suffered injury in fact

and lost money or property as a result of unfair competition and deceptive acts by GNC, as

Plaintiff and the New Hampshire Sub-Class members paid the purchase price for a product

which would not have been purchased if GNC had not made misrepresentations and concealed

or omitted material information as to the safety of the product and its limitations.

        260.    Plaintiff Lambert and the New Hampshire Sub-Class members relied upon GNC

to disclose all pertinent information about the dietary supplements with picamilon, BMPEA, or

acacia rigidula.

        261.    The actions of GNC, as complained herein, constitute unfair and deceptive

practices committed in violation of the New Hampshire Consumer Protection Act.




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       262.    Plaintiff Lambert and the New Hampshire Sub-Class members have suffered

damages as a result of the conduct of GNC, because Plaintiff and the Class members were

misled into purchasing products which were not what GNC advertised the Products to be.

       263.    Plaintiff Lambert is informed of and believes that all of the conduct alleged

herein occurs and continues to occur in GNC’s business. The conduct of GNC is part of a

pattern or generalized course of conduct repeated on thousands of occasions daily.

       264.    GNC was aware, or by the exercise of reasonable case should have been aware,

that the representations were untrue or misleading. GNC also was aware, or by the exercise of

reasonable case should have been aware, that the concealments and omissions should have been

disseminated in the advertising.

       265.    GNC’s conduct was also deceptive and unfair in that it violated the prohibition

against false or misleading labeling in New Hampshire’s Purity and Branding of Foods and

Drugs law, N.H. Rev. Stat. Ann. § 146:1, et seq.

       266.    Plaintiff Lambert and the members of the New Hampshire Sub-Class have each

been directly and proximately injured by the conduct of the Defendants, and such injury

includes payment for the dietary supplements with picamilon, BMPEA, or acacia rigidula.

       267.    As a result of the conduct of GNC, as alleged herein, Plaintiff Lambert and the

New Hampshire Sub-Class should be awarded actual damages, restitution, and punitive

damages pursuant to N.H. Rev. Stat. Ann. §358-A:10(I), and any other relief the Court deems

appropriate.




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                            NINETEENTH CAUSE OF ACTION
    Violations of Pennsylvania’s Unfair Trade Practices and Consumer Protection Law,
                                    73 P.S § 201-1, et seq.
  (Plaintiff Nate Picone, Individually and on behalf the Pennsylvania Sub-Class, Against
                                           GNC)

        268.    Plaintiffs repeat and reallege the allegations contained in the paragraphs above, as

if fully set forth herein.

        269.    Plaintiff Nate Picone and members of the proposed Pennsylvania Sub-Class

purchased dietary supplements containing picamilon, BMPEA, or acacia rigidula for personal,

family, or household purposes within the meaning of 73 P.S. § 201-9.2.

        270.    The Pennsylvania Unfair Trade Practices and Consumer Protection Law

prohibits engaging in fraudulent or deceptive conduct (i) representing that goods have

characteristics, benefits, or qualities that they do not have; (ii) representing that goods or

services are of a particular standard, quality, or grade, if they are of another; (iii) advertising

goods or services with intent not to sell them as advertised; and (iv) engaging in any other

fraudulent or deceptive conduct which creates a likelihood of confusion or misunderstanding. 73

P.S. § 201-2(4).

        271.    GNC’s acts and practices, as alleged in this complaint, violate the Pennsylvania

Unfair Trade Practices and Consumer Protection Law by engaging in unfair methods of

competition and unfair and deceptive acts and practices in connection with transactions—

namely, the sale of the dietary supplements with picamilon, BMPEA, or acacia rigidula to

Plaintiffs and members of the Pennsylvania Sub-Class. This conduct was intended to result and

did result in the sale of these goods to consumers. Specifically, GNC:

                a.       Represented that dietary supplements with picamilon, BMPEA, or acacia

                         rigidula had approval or characteristics that they did not have;




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                b.     Represented that dietary supplements with picamilon, BMPEA, or acacia

                       rigidula were of a particular standard, quality, or grade when they were

                       actually of another;

                c.     Advertised goods or services with intent not to sell them as advertised;

                       and

                d.     Engaged in other fraudulent or deceptive conduct creating a likelihood of

                       confusion or misunderstanding; and

                e.     Represented that consumers’ purchases of dietary supplements with

                       picamilon, BMPEA, or acacia rigidula conferred or involved rights that

                       the transactions did not have or involve.

        272.    GNC’s conduct was also deceptive and unfair in that it violated the prohibition

against false or misleading labeling in Pennsylvania’s Food Safety Act, 3 Pa. C.S.A. § 5721, et

seq.

        273.    As a direct and proximate result of GNC's conduct, Plaintiff Picone and members

of the State Sub-Classes have been harmed and have suffered ascertainable loss, in that they

purchased products that they otherwise would not have. Meanwhile, GNC has generated more

revenue than it otherwise would have, unjustly enriching itself. GNC's violations also present a

continuing risk to Plaintiff and members of the classes and affect the public interest.

        274.    Plaintiff Picone and members of the Pennsylvania Sub-Class are entitled to

damages (including treble damages), equitable relief, reasonable attorney’s fees and costs,

declaratory relief, and a permanent injunction enjoining GNC from its unlawful, fraudulent, and

deceitful activity.




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                              TWENTIETH CAUSE OF ACTION
           Violation of Texas Deceptive Trade Practices-Consumer Protection Act,
                         Tex. Bus. & Com. Code Ann. §§ 17.41, et seq.
                  (Plaintiff Daniel Hubert, Individually and on behalf of the
                                  proposed Texas Sub-Class)

        275.    Plaintiffs repeat and reallege the allegations contained in the paragraphs above, as

if fully set forth herein.

        276.    The purposes of the Texas Deceptive Trade Practices and Consumer Protection

Act (the “TDTPA”) is to “protect consumers against false, misleading, and deceptive practices,

unconscionable actions, and breaches of warranty and to provide efficient and economical

procedures to secure such protection,” and it is liberally construed to effect those purposes. Tex.

Bus. & Com. Code Ann. § 17.44.

        277.    Plaintiff Hubert and members of the Texas Sub-Class are “consumers,” the

Products are “goods,” and GNC was engaged in “trade or commerce” as those terms are defined

by § 17.45 of the DTPA.

        278.    GNC has violated section 17.50(a)(1) and 17.46(b)(24) of the TDTPA by failing

to disclose to Plaintiff and members of the Texas Sub-Class that the dietary supplements

containing picamilon, BMPEA, or acacia rigidula are unlawful dietary supplements,

misrepresenting that picamilon, BMPEA, or acacia rigidula are lawful dietary ingredient, failing

to disclose that the Products contained picamilon, BMPEA or acacia rigidula BMPEA.

        279.    GNC’s omissions were intended to induce Plaintiff Hubert and members of the

Texas Sub-Class to purchase dietary supplements that they otherwise would not have purchased

at a price they otherwise would not have paid. Plaintiff Hubert and members of the Texas Sub-

Class relied upon GNC’s omissions to their detriment, purchasing dietary supplements they




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otherwise would not have purchased, or purchased dietary supplements at a price they otherwise

would not have paid.

        280.    GNC has also violated section 17.50(a)(3) of the TDTPA by selling dietary

supplements containing picamilon, BMPEA, or acacia rigidula. In addition, by selling products

with unlawful and unsafe ingredients and not advising Plaintiff Hubert and Texas Sub-Class

members, GNC’s conduct constitutes an unconscionable course of action, as GNC took

advantage of Plaintiff and Texas Class members’ lack of knowledge to a grossly unfair degree.

        281.    GNC’s conduct was also false, misleading, deceptive, and unfair in that it violated

the prohibition against false or misleading labeling in Texas’s Food, Drug, and Cosmetic Act,

Tex. Health & Safety Code Ann.§ 431.001, et seq.

        282.    As a direct and proximate result of GNC’s conduct, Plaintiff Hubert and other

members of the Texas Sub-Class have been harmed in that they purchased dietary supplements

they otherwise would not have, and/or paid more for dietary supplements than they otherwise

would have. Meanwhile, GNC has sold more dietary supplements than it otherwise could have

and charged inflated prices for dietary supplements, unjustly enriching itself thereby.

        283.    GNC is liable to Plaintiff and members of the Texas Sub-Class for damages in

amounts to be proven at trial, including attorneys’ fees recoverable pursuant to § 17.50(d) of the

TDTPA, costs, and treble damages.

        284.    Pursuant to §17.50 of the TDTPA, Plaintiff and the Texas Sub-Class seek

damages, a declaration that GNCs conduct is unlawful, and an order requiring GNC to

adequately disclose the extent and nature of their unlawful acts with respect to the products

outlined herein.




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                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of themselves and members of the Nationwide Class

and State Sub-Classes, respectfully request that this Court:

       a.      Determine that the claims alleged herein may be maintained as a class action

               under Rule 23 of the Federal Rules of Civil Procedure, and issue an order

               certifying the Classes as defined above;

       b.     Appoint Plaintiffs as the representatives of the Classes;

       c.     Award all actual, general, special, incidental, statutory, punitive, and consequential

              damages and restitution to which Plaintiffs and the Class members are entitled;

       d.     Award pre-judgment and post-judgment interest on such monetary relief;

       e.     Grant appropriate injunctive and declaratory relief, including, without limitation,

              an order that requires GNC to recall dietary supplements containing picamilon,

              BMPEA, or acacia rigidula and to provide Plaintiffs and Class members with

              appropriate curative notice regarding the existence and cause of the supplements’

              noncompliance with federal and state law and subsequent health hazards;

       f.     Award reasonable attorneys’ fees and costs; and

       g.     Grant such further relief that this Court deems appropriate.




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Dated: April 26, 2016               Respectfully submitted,


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